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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                        September 09, 2024
                            UNITED STATES DISTRICT COURT
                                                                                         Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


ROBERT R FLORES,                                  §
                                                  §
         Plaintiff,                               §
                                                  §
VS.                                               §   CIVIL ACTION NO. 7:24-CV-00271
                                                  §
ROBERT W. BERLETH, et al.,                        §
                                                  §
         Defendants.                              §

  ORDER GRANTING DEFENDANTS’ MOTIONS TO DISMISS AND DECLARING
                PLAINTIFF A VEXATIOUS LITIGANT

        Now before the Court are three Motions to Dismiss [Dkt. 6, 7, and 9], one Motion for

Sanctions [Dkt. 11], one Motion for Declaratory Judgment [Dkt. 17], one Motion to Consolidate

[Dkt. 19], one Amended Complaint filed without leave of court [Dkt. 20], one Motion to Stay [Dkt.

21] and a variety of responses and replies to said motions. Because the Court lacks subject matter

jurisdiction over this case, the Court hereby ORDERS that Defendants’ Motions to Dismiss are

GRANTED and Docket Nos. 11, 17, 19, 20, and 21 are DENIED AS MOOT.

   I.       Background

        On July 10, 2019, Plaintiff filed a petition for divorce on behalf of his client, David Gordon

Mayes, in the 197th District Court of Willacy County, Texas. [Dkt. 1, ¶14] Defendant Robert W.

Berleth and his firm, Defendant Berleth & Associates, PLLC, represented Mr. Mayes’s then-wife

in the matter, Defendant Heather Renee Slagle. Id. Ms. Slagle and Mr. Mayes, with the help of

their respective counsels, agreed to a Mediated Settlement Agreement (“MSA”) on January 17,

2020. Id.

        Plaintiff claims that when Ms. Slagle and Mr. Mayes agreed to the MSA, they and their

attorneys entered into a contract, which Ms. Slagle and Mr. Berleth breached when Ms. Slagle


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subsequently filed a separate divorce case against Mr. Mayes in Bosque County, Texas. Id. at

[¶¶32-33] Plaintiff further contends that Ms. Slagle, Mr. Berleth, and Berleth & Associates filed

the divorce petition in Bosque County for the sole purpose of harassing Plaintiff and Mr. Mayes,

which harassment was exacerbated further and further with every document filed in that case. Id.

at [¶¶19-20] Mr. Berleth and Ms. Slagle, of course, dispute this and assert that Plaintiff’s own

inaction led to Willacy County dismissing the original divorce petition. [Dkt. 9, p. 4] After said

dismissal, Ms. Slagle filed for divorce in Bosque County, where she and the couple’s children

lived. Id. Plaintiff attempted to have the Bosque County divorce case dismissed but was

unsuccessful. [Dkt. 1, ¶17] The judge presiding over those proceedings, including the denial of

Plaintiff’s Motion to Dismiss, was Defendant Judge Shaun Carpenter. Id.

          Plaintiff claims that Judge Carpenter entered several biased orders in the Bosque County

divorce case, including multiple orders for sanctions against Plaintiff. [Dkt. 1, ¶22] In order to

collect those sanctions, the Bosque County Court appointed Defendant Derek Loetzerich, who

Plaintiff now claims is liable for negligence and malicious interference with the MSA, among other

vaguer claims. [Dkt 1, ¶23; Dkt. 7, p. 1] Ms. Slagle and Mr. Mayes (without the help of Plaintiff)

ultimately filed the MSA in Bosque County, and Judge Carpenter dismissed the divorce case. [Dkt.

1, ¶17] Plaintiff has since filed multiple actions in multiple courts related to these events, as further

described below.

    II.       Procedural History

          Plaintiff filed his Complaint, styled as “Plaintiff’s Original Petition,” in this action on July

5, 2024 against Defendants Robert W. Berleth; Berleth & Associates, PLLC; Heather Renee

Slagle; Derek W. Loetzerich; The Law Office of Derek W. Loetzerich; and the Honorable Judge

Shaun Carpenter of the 220th Judicial District Court of Bosque County, Texas. [Dkt. 1] Three

motions to dismiss have been filed since that time: one on August 1, 2024 by Judge Carpenter


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[Dkt. 6], one on August 7, 2024 by Mr. Loetzerich and The Law Office of Derek W. Loetzerich

[Dkt. 7], and one on August 7, 2024 by Mr. Berleth, Berleth & Associates, and Ms. Slagle [Dkt.

9]. Docket Nos. 7 and 9 also moved to declare Plaintiff a vexatious litigant. Although Plaintiff

filed a response to Judge Carpenter’s Motion to Dismiss [Dkt. 12], he failed to respond to either

of the other Motions to Dismiss, including to the requests for an order declaring him a vexatious

litigant. Instead, Plaintiff filed a Motion for Sanctions [11], a Motion for Declaratory Judgment

[Dkt. 17], a motion to Consolidate [Dkt. 19], and a Motion to Stay [Dkt. 21]. He also chose to file

an Amended Complaint (“Plaintiff’s First Amended Verified Petition and Request [sic] Declartory

[sic] Judgement with Supporting Affidavit”) without leave of Court on September 4, 2024, well

after the 21-day deadline available under Fed. R. Civ. P. 15(a) had passed. [Dkt. 20] The Court

hereby DENIES leave for Plaintiff to file his amended complaint and declares Docket No. 20

MOOT.

   III.      Motions to Dismiss

          Plaintiff’s complaint is full of numerous defects that the Court need not address here.

Likewise, because Plaintiff has failed to establish subject matter jurisdiction, the Court need not

delve into the myriad other arguments made for dismissal of Plaintiff’s claims. When a district

court has pending before it both a 12(b)(1) motion and a 12(b)(6) motion, the generally preferable

approach, if the 12(b)(1) motion essentially challenges the existence of a federal cause of action,

is for the court to find jurisdiction and then decide the 12(b)(6) motion. Jones v. State of Ga., 725

F.2d 622, 623 (11th Cir. 1984) (citing Williamson v. Tucker, 645 F.2d 404, 415 (5th Cir. 1981),

cert. denied, 454 U.S. 897 (1981)).

          A court properly dismisses a case for lack of subject-matter jurisdiction under Rule

12(b)(1) “when the court lacks the statutory or constitutional power to adjudicate the case.” Home

Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998) (quoting


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Nowak v. Ironworkers Local 6 Pension Fund, 81 F.3d 1182, 1187 (2d Cir. 1996)); see Fed. R. Civ.

P. 12(b)(1). “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction,” who “constantly bears the burden of proof that jurisdiction does in fact exist.”

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001); see also Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 377 (1994) (“It is to be presumed that a cause lies outside [federal

courts’] limited jurisdiction, and the burden of establishing the contrary rests upon the party

asserting jurisdiction[.]”) (internal citations omitted). “A motion to dismiss for lack of jurisdiction

may be decided by the district court considering only the complaint, the complaint supplemented

by undisputed facts reflected in the record, or the complaint supplemented by undisputed facts plus

the court's resolution of disputed facts.” Meliezer v. Resolution Trust Co., 952 F.2d 879, 881 (5th

Cir. 1992). Even where the defendant neglects to make an argument for dismissal under 12(b)(1),

sua sponte dismissal is mandatory when a court discovers that it lacks subject-matter jurisdiction.

Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.”); see also Carver v. Atwood, 18 F.4th 494, 497

(5th Cir. 2021) (quoting Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514, 19 L.Ed. 264 (1869)

(“Jurisdiction is power to declare the law, and when it ceases to exist, the only function remaining

to the court is that of announcing the fact and dismissing the cause.”)).

       Subject matter jurisdiction may be established under either Section 1331 or 1332 of Title

28 of the United States Code. Plaintiff has not asserted that diversity jurisdiction exists here, nor

can he, as all the defendants are domiciled in Texas. [Dkt. 1, ¶¶4-8] Plaintiff, instead, asserts that

this Court has jurisdiction under both 28 U.S.C. § 1331 and § 1441(a). Id. at [¶¶9-10] Section

1441(a) relates to removal of civil actions and is, thus, inapplicable here. More to the point,

Plaintiff’s assertion that his case somehow implicates federal question jurisdiction is vague and

confusing. Plaintiff states that one of his claims arises under the Fifth and Fourteenth Amendments,


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id. at [¶10], but does not clarify, in either his Complaint or his Response to Judge Carpenter’s

Motion to Dismiss, which claim that is supposed to be, what violation allegedly occurred, and

what facts he has pleaded to support his allegation. Plaintiff brings a multitude of state claims,

including negligence, breach of contract, and fraud. But nowhere in Plaintiff’s Complaint does he

allege a federal cause of action. Without a federal claim, this Court has no jurisdiction over the

present case. Accordingly, the Court hereby GRANTS Defendants’ Motions to Dismiss without

prejudice.1

    IV.       Motions to Declare Plaintiff a Vexatious Litigant

          There are two motions to declare Plaintiff a vexatious litigant before the Court, both of

which ask that the Court impose a prefiling injunction against Plaintiff prohibiting him from filing

any litigation (and from continuing current litigation) in the State of Texas absent permission.

[Dkt. 7; Dkt. 9] District courts have the authority to issue pre-filing injunctions to “deter vexatious,

abusive, and harassing litigation.” Baum v. Blue Moon Ventures, LLC, 513 F.3d 181, 187 (5th Cir.

2008); Montes v. Tibbs, No. 24-20135, 2024 WL 3842570, at *3 (5th Cir. Aug. 16, 2024); see also

Harrelson v. United States, 613 F.2d 114, 116 (5th Cir. 1980) (per curiam) (“A litigious plaintiff

pressing a frivolous claim, though rarely succeeding on the merits, can be extremely costly to the

defendant and can waste an inordinate amount of court time.”). The prefiling injunction must be

narrowly tailored to “protect the courts and innocent parties, while preserving the legitimate rights

of litigants.” Baum, 513 F.3d at 187. The Court must weight all relevant circumstances when

assessing whether to enjoin future filings, including four particular factors: “(1) the party’s history

of litigation, in particular whether he has filed vexatious, harassing, or duplicative lawsuits; (2)



1
 “[D]ismissals based on jurisdictional issues must, by their very nature, be without prejudice.”
Abdullah v. Paxton, 65 F.4th 204, 208 n.3 (5th Cir. 2023) (per curiam); Montes v. Tibbs, No. 24-
20135, 2024 WL 3842570, at *3 (5th Cir. Aug. 16, 2024).

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whether the party had a good faith basis for pursuing the litigation, or simply intended to harass;

(3) the extent of the burden on the courts and other parties resulting from the party's filings; and

(4) the adequacy of alternative sanctions.” Id. at 189; see also Carroll v. Abide (In re Carroll), 850

F.3d 811, 815 (5th Cir. 2017) (per curiam). The Texas Practice and Remedies Code likewise sets

forth criteria for finding a litigant to be vexatious in the state of Texas. Tex. Prac. & Rem. Code §

11.054.

        Defendants have set forth a detailed and thorough accounting of their involvement with

Plaintiff, which has included one action in the Tenth Court of Appeals for the State of Texas

(dismissed), one action in Hidalgo County (dismissed), two actions in Willacy Count (both

dismissed), and three actions in the Southern District of Texas (all three dismissed), in addition to

the present case. [Dkt. 9, pp. 11-13] Plaintiff has not disputed any of these facts and has not made

any argument as to why he should not be classified as a vexatious litigant under either state or

federal law. Despite having the opportunity to respond to two different motions, Plaintiff has

chosen to allow these motions to go unopposed. See Local Rule 7.4. Plaintiff has already been

enjoined from filing new actions against Defendant Loetzerich in Bosque County and has,

additionally, been ordered to pay monetary sanctions, which he has heretofore refused to pay, and

which, rather than deterring Plaintiff, have only further emboldened him. [Dkt. 9, pp. 6-7]

Evidently, monetary sanctions are insufficient. See Carroll, 850 F.3d at 814. Accordingly, this

Court finds that Plaintiff’s actions warrant further sanctions, including a prefiling injunction.

   V.      Conclusion

        The Court hereby orders:

        1. Plaintiff’s claims are DISMISSED;

        2. Plaintiff is DECLARED a vexatious litigant in the Southern District of Texas;




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          3. Plaintiff is hereby ENJOINED from filing, in any state or federal court in Texas, any

             further lawsuits concerning the divorce proceedings of Defendant Heather Renee

             Slagle and third-party David Gordon Mayes, or any related matters, unless Plaintiff

             first obtains permission from the court where he wishes to file suit. Furthermore, should

             Plaintiff seek that permission, he must provide a copy of this Order and must post a

             security bond, upon filing of any litigation, to indemnify Defendants against litigation

             costs.2 This injunction shall extend to any corporation or business in which Plaintiff

             has any substantial ownership interest.

           SO ORDERED September 9, 2024, at McAllen, Texas.


                                                         ______________________________
                                                         Randy Crane
                                                         Chief United States District Judge




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    Tex. Civ. Prac. & Rem. Code Ann. § 11.055.


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